EXHIBIT 5
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

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In re:                                                         :   Chapter 7
                                                               :
THEMA T. NORTON,                                               :   Case No. 17-42199 (ESS)
                                                               :
         Debtor.                                               :
                                                               :
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THEMA T. NORTON,                                               :   Adv. Pr. No. 20-01113
                                                               :
         Plaintiff,                                            :
                                                               :
         v.                                                    :
                                                               :
ECP PROPERTY II LLC, et al.,                                   :
                                                               :
         Defendants.                                           :
                                                               :
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        GORDON S. YOUNG, pursuant to 28 U.S.C. § 1746, declares as follows:

        1.       I am a partner of the law firm of Friedberg PC, which has an office at 10045 Red

Run Blvd., Suite 160, Baltimore, Maryland 21117. I am named as a defendant in my personal

capacity in the adversary proceeding.

        2.       I have been a practicing attorney for 21 years. I am admitted and in good

standing in the courts of New York, Maryland, Virginia, Pennsylvania, the District of Columbia,

all federal courts in those jurisdictions (except the United States District Courts for the Northern

and Western Districts of New York), as well as the United States Supreme Court, the United

States Court of Appeals for the Fourth Circuit, the United States Court of Appeals for the District

of Columbia Circuit, and the United States Court of Federal Claims. I am admitted to this Court.




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       3.     In 21 years of practice, I have never been subject to a disciplinary proceeding or

complaint, nor have I ever been sanctioned for misconduct by any court.

       4.     I make this declaration in support of the Defendants’ motion to dismiss amended

Adversary Complaint Seeking Declaratory Judgment, Punitive Damages, and Permanent

Injunction [Adv. Doc. 19] (the “Amended Complaint”) filed by plaintiff/debtor Thema Norton

(“Debtor”), pursuant Rules 12(b)(a) and 12(b)(6) of the Federal Rules of Civil Procedure, made

applicable to this case by Rule 7012(b) of the Federal Rules of Bankruptcy Procedure.

       5.     Friedberg PC was retained on an hourly basis by Defendant ECP Property II LLC

(“ECP”) to collect a valid debt owed to ECP.

       6.     ECP holds a Judgment (the “Judgment”) against Riverrock Nehemiah Realty,

LLC (“Riverrock”), which was entered in a case before the Supreme Court of the State of New

York in Kings County styled ECP Property II LLC v. Riverrock Nehemiah Realty LLC, et al.,

Index Number 3763/12 (the “Foreclosure Action”).

       7.     As more fully alleged in the case styled ECP Property II LLC v. Joseph S. Norton

et al., U.S. District Court for the Eastern District of New York Case No. CV-20-00303

(ILG)(VMS) (the “RICO Action”), Debtor participated in numerous acts intended to frustrate

ECP’s collection of the Judgment.

       8.     Every action I have undertaken on behalf of ECP to collect the Judgment,

including the filing of the RICO Action, was made as an employee of Friedberg PC, pursuant to

my role as counsel for ECP and at the request of ECP.

       9.     As counsel to ECP and as an employee of Friedberg PC, I filed the RICO Action

on behalf of ECP.




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       10.    I bear no malice toward Debtor, and none of my actions in prosecuting the

Foreclosure Action and the RICO Action has been motivated by malice toward Debtor.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on February 26, 2021.



                                                    GORDON S. YOUNG


                                            By:            /s/ Gordon S. Young




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